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10                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
11

12                                          PLAINTIFF OPPOSITION TO MOVANT’S
      THE WOMEN’S STUDENT UNION,            MOTION TO INTERVENE AS
13
                                            DEFENDANTS
14               Plaintiff,
                                            Civil Action No. 3:21-cv-01626-EMC
15               v.
                                            Judge: Honorable Edward M. Chen
16    U.S. DEPARTMENT OF EDUCATION,
17                                          Hearing: January 20, 2021, 1:30 PM (virtual)
                 Defendant.                 Courtroom 5, 17th Floor, 450 Golden Gate Ave.,
18                                          San Francisco, CA 94102

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 1                                          INTRODUCTION

 2           This case is about the Title IX regulations that the U.S. Department of Education

 3   promulgated in 2020. The sole question presented is whether four components of those regulations

 4   (the “2020 Regulations”) complied with the Administrative Procedure Act (“APA”). The

 5   Foundation for Individual Rights in Education, Independent Women’s Law Center, and Speech

 6   First, Inc. (collectively “Movants”) seek to turn this suit into something far different: a fight over

 7   the constitutional bounds of sexual harassment law writ large, the results of which Movants hope

 8   will hamstring any future rulemaking the Defendant might pursue. Movants are free to develop

 9   litigation that will raise the momentous First Amendment question it wants answered. But this case

10   does not. Because the scope of the Court’s inquiry here is circumscribed by the APA, the

11   constitutional argument proffered by Movants can have no influence on the outcome of this suit.

12   And Movants’ true objective—to thwart the Defendant from adopting an alternative definition of

13   sexual harassment in the future—can be neither advanced nor frustrated by WSU’s case. As a

14   result, Movants cannot uphold their burden to show an entitlement to mandatory or permissive

15   intervention.

16                                              ARGUMENT

17      I.      Movants Are Not Entitled To Intervene As Of Right

18           Under Federal Rule of Civil Procedure 24(a)(2), “a stranger to a lawsuit may intervene ‘of

19   right’ where . . . letting the lawsuit proceed without that person could imperil some cognizable

20   interest of his.” In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liab. Litig.,

21   894 F.3d 1030, 1037 (9th Cir. 2018). That Rule is satisfied where (1) the motion is timely; (2) the

22   would-be intervenor has “a ‘significantly protectable’ interest relating to the property or

23   transaction which is the subject of the action;” (3) “the disposition of the action may as a practical

24   matter impair or impede [the movant’s] ability to protect that interest;” and (4) the movant’s

25   “interest [is] inadequately represented by the parties to the action.” Freedom from Religion Found.,

26   Inc. v. Geithner, 644 F.3d 836, 841 (9th Cir. 2011). The movant “bears the burden of showing each

27   of the four elements is met,” and its “[f]ailure to satisfy any one of the requirements is fatal to the

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 1   application.” Id. Here, Movants are not entitled to mandatory intervention because they do not

 2   satisfy three of these elements and cannot establish standing, a threshold requirement.1

 3            A.      Movants Lack Standing

 4            The Ninth Circuit has held that Rule 24(a)’s requirement that an applicant seeking to

 5   intervene as of right must have a significant protectable interest “implicitly” incorporates Article

 6   III standing requirements. Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 821 n.3 (9th

 7   Cir. 2001); SurvJustice Inc. v. DeVos, No. 18-CV-00535-JSC, 2019 WL 1427447, at *4 (N.D. Cal.

 8   Mar. 29, 2019); Pesticide Action Network N. Am. v. EPA, No. C 08-01814 MHP, 2008 WL

 9   11404954, at *4 n.2 (N.D. Cal. July 8, 2008).

10            “To establish Article III standing, an injury must be concrete, particularized, and actual or

11   imminent; fairly traceable to the challenged action; and redressable by a favorable ruling.” Clapper

12   v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (internal quotation marks omitted). Where a

13   party’s standing rests on future harm, the “threatened injury must be certainly impending to

14   constitute injury in fact.” Id. “[A]llegations of possible future injury are not sufficient.” Id.

15   (internal quotation marks omitted); see also City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983)

16   (noting an alleged “threat of injury must be both ‘real and immediate,’ not ‘conjectural’ or

17   hypothetical’”). In addition, and crucially for this motion, where the party that must establish

18   standing is not “the object of the government action or inaction [it] challenges, standing is not

19   precluded, but it is ordinarily substantially more difficult to establish.” Lujan v. Defs. of Wildlife,

20   504 U.S. 555, 562 (1992) (internal quotation marks omitted). Indeed, when, as here, the injury

21   “arises from the government’s allegedly unlawful regulation (or lack of regulation) of someone

22   else, much more is needed.” Id. That is especially so when the threatened injury is “contingent

23   upon the decisions of many independent actors in the causal chain.” Missouri ex rel. Koster v.

24   Harris, 847 F.3d 646, 654 (9th Cir. 2017) (citing Clapper, 568 U.S. at 413). Likewise, “it must be

25   ‘likely,’ as opposed to merely ‘speculative,’ that the inquiry will be ‘redressed by a favorable

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         WSU does not contest that Movants’ motion to intervene is timely.
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 1   decision.’” Lujan, 504 U.S. at 561 (quoting Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 38,

 2   43 (1976)).

 3          Movants have failed to make these showings. The five sentences describing the

 4   Independent Women’s Law Center, ECF 88-1 at 4-5, offer no indication how it benefits from the

 5   2020 Regulations and how setting aside the Regulations’ definition of “sexual harassment” would

 6   injure it. The Independent Women’s Law Center, then, plainly lacks standing, and we do not

 7   address it further. Movants FIRE and Speech First offer slightly more. But their two possible

 8   theories—based on predicted effects on their resources and their members’ rights–are both too

 9   speculative to establish standing.

10                  1. Movants’ Fear That Universities Will Adopt Unconstitutional Policies If the
                       2020 Regulations’ Definition of Sexual Harassment Is Set Aside Is Insufficient
11                     to Establish Standing
12          Although with slight variations between them, both say the 2020 Regulations’ definition
13   of “sexual harassment” has allowed them to shift their resources to First Amendment cases that do
14   not involve allegations of sexual harassment, and that if WSU were successful in having the
15   regulations set aside, they would have to shift those resources back to their prior uses to First
16   Amendment cases involving allegations of sexual harassment. ECF 88-1 at 7-8. But their own
17   accounts make clear that shifting of resources back would only arrive at the end of highly
18   speculative “chain of possibilities,” each dependent on third parties making certain discretionary
19   decisions. Clapper, 658 U.S. at 410.
20          Movants’ theory of standing flows from one legal premise—that the First Amendment bars
21   universities from prohibiting sexual harassment unless it is severe, pervasive, and objectively
22   offensive—and a number of factual premises: (1) before the 2020 Regulations were adopted, some
23   universities violated this First Amendment limitation in defining sexual harassment because they
24   believed the Department would otherwise find them in violation of Title IX and Movants devoted
25   some of their resources to opposing violations caused by those beliefs; (2) the 2020 Regulations’
26   definition of sexual harassment “has reduced the frequency,” ECF 88-1 at 4, with which
27   universities violate the First Amendment because the universities comply with the Regulations and
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 1   the Regulations do not require universities to prohibit sexual harassment unless it is severe,

 2   pervasive and objectively offensive, thus permitting Movants to shift their resources elsewhere;

 3   and (3) if the 2020 Regulations’ definition of sexual harassment is set aside, universities will

 4   abandon that definition and return to a definition that violates the First Amendment, thus requiring

 5   Movants to shift their resources back.

 6          FIRE and Speech First present the first two factual premises in conclusory terms and

 7   provide no factual support—which would, indeed, be difficult to do given that the 2020

 8   Regulations expressly allow schools to address sexual harassment that does not meet the new

 9   definition. See 34 C.F.R. § 106.45(b)(3)(i); 85 Fed. Reg. 30,026, 30,289 (May 19, 2020). But even

10   if each factual premise were true, Movants would still bear their burden of making plausible

11   allegations (and later introducing evidence) that if the 2020 Regulations’ definition of “sexual

12   harassment” is set aside, universities will then make the decision to adopt a definition that violates

13   the First Amendment (as understood by Movants) to align with earlier Department guidance. To

14   the contrary, there are several significant legal reasons why such an allegation is implausible.

15          First, a separate provision of the 2020 Regulations would prohibit universities from

16   changing their definition of sexual harassment if, as Movants claim, the current definition is

17   required by the First Amendment in higher education. The 2020 Regulations amended 34 C.F.R.

18   § 106.6 to make clear that nothing in the regulations implementing Title IX requires an educational

19   institution to “[r]estrict any rights that would otherwise be protected from government action by

20   the First Amendment.” 34 C.F.R. § 106.6(d)(1). The Department explained that “§ 106.6(d)(1)

21   acts as a saving clause to ensure that institutions do not violate the First Amendment’s

22   requirements.” 85 Fed. Reg. at 30,419. In the comment it submitted during the rulemaking, which

23   Movants link to in their memorandum, ECF 88-1 at 2, FIRE told the Department that the “plain

24   declaration that Title IX enforcement will be conducted within a framework that recognizes the

25   essentiality of constitutional rights” was “an important component of the proposed regulations.”

26   Foundation for Individual Rights in Education, Comment Letter on the Department of Education’s

27   Proposed Regulations on Title IX Enforcement at 5 (Jan. 30, 2019), https://bit.ly/2Nl6qss. FIRE

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 1   explained that this provision was “helpful, and unfortunately necessary, in light of” university

 2   constitutional violations in adjudicating sexual harassment complaints. Id. Movants offer no

 3   grounds to believe that § 106.6(d)(1)—which this lawsuit does not challenge—would not be

 4   effective at preventing precisely the kinds of third-party decisions that might create the basis of

 5   Movants’ standing.

 6          Further, the Department has recently taken other steps in the higher education arena “to

 7   promote the First Amendment’s guarantees of free expression and academic freedom.” 85 Fed.

 8   Reg. 59,916, 59,916 (Sept. 23, 2020). Separate from its Title IX regulations, the Department has

 9   promulgated new regulations that provide that each “grantee that is [a public] institution of higher

10   education . . . must also comply with the First Amendment to the U.S. Constitution . . . as a material

11   condition of the Department’s grant.” 34 C.F.R. §§ 75.500(b)(1), 76.500(b)(1). A finding that a

12   university violated the First Amendment, and thus a material condition of its grant, would allow

13   the Department to “impose special conditions aimed at remedying noncompliance, temporarily

14   withhold cash payments pending correction of the institution’s deficiency, suspend or otherwise

15   terminate a Federal award, or potentially disbar the institution.” 85 Fed. Reg. at 59,924. The

16   Department has also opened multiple investigations to assess whether universities’ actions adhered

17   to their public representations that they comply with the First Amendment and indicated that fines

18   might be assessed if the universities did not. See, e.g., 85 Fed. Reg. 61,732 (Sept. 30, 2020);

19   Katherine Mangan, 3 Universities Face U.S. Inquiries Into Free-Speech Controversies, The

20   Chron. of Higher Educ. (Oct. 1, 2020), bit.ly/2YSdjv0.

21          Such consequences would surely encourage schools to tread carefully, if the First

22   Amendment means what Movants say it means. Yet, in predicting that universities will return to

23   their old policies and practices if WSU succeeds, Movants disregard the Department’s new free

24   speech regulations and recent enforcement actions. And even if some universities might

25   nonetheless decide to implement unconstitutional definitions absent the challenged provision of

26   the 2020 Regulations, perhaps requiring Movants to shift resources, such a speculative “chain of

27   possibilities” surely does not constitute the kind of “certainly impending” harm required for

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 1   standing. Clapper, 568 U.S. at 414; Haynie v. Harris, 658 F. App’x 834, 836 (9th Cir. 2016)

 2   (noting it is “entirely speculative” to assume a third party will act unlawfully); Mayfield v. United

 3   States, 599 F.3d 964, 970 (9th Cir. 2010) (noting that ordinarily “[p]ast exposure to harmful or

 4   illegal conduct” does not confer standing where the party does not seek retrospective relief). Courts

 5   are “reluctant to endorse standing theories that require guesswork as to how independent

 6   decisionmakers will exercise their judgment,” Clapper, 568 U.S. at 413, which is exactly what

 7   Movants demand.

 8          Finally, we note that the implausibility of Movants’ assertion—that universities will

 9   change their definition of sexual harassment if the 2020 Regulations’ definition is set aside even

10   if, as Movants assert, such a change would violate the First Amendment—in no way suggests that

11   WSU would not benefit from the Court setting aside the 2020 Regulations’ definition of “sexual

12   harassment.” Movants are laser focused on the First Amendment in higher education—that is

13   where they devote their resources, where their student members are enrolled, and where the case

14   law they cite applies.2 Movants do not allege, however, that the definition of “sexual harassment”

15   adopted in the 2020 Regulations embodies a constitutionally-required standard when applied to

16   public elementary and secondary schools. Nor could they. First Amendment rights of students in

17   public school environments are governed by the more forgiving standard laid out in Tinker v. Des

18   Moines Independent Community School District, 393 U.S. 503 (1969). Applying Tinker, the Ninth

19   Circuit held that a school district could suspend a seventh-grade student for participating in “sexual

20   harassment,” which was defined by the school to include “‘verbal . . . conduct of a sexual nature’

21   including ‘sex-oriented verbal kidding, teasing, or jokes.’” C.R. v. Eugene Sch. Dist. 4J, 835 F.3d

22   1142, 1148 (9th Cir. 2016). The Court concluded that schools “must have the authority to discipline

23   students for engaging in sexual inappropriate and harassing speech.” Id. at 1152. Thus, WSU

24   would benefit from the Department enforcing Title IX’s prior definition of sexual harassment

25

26
     2
       FIRE explained in its comment its “mission is exclusively to defend the rights of students and
27   faculty in the higher education setting” and thus it did “not address sections of the proposed
     regulations that regulate K-12 schools.” FIRE Comment, supra, at 4 n.4.
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 1   against its school district even if that same definition could not be enforced against universities

 2   under the First Amendment, as Movants’ claim.

 3                    2. The Threatened Injury to Movants’ Student Members Is Insufficient for Article
                         III Standing
 4

 5          FIRE and Speech First also claim that they have college student members who “have . . .
 6   been subjects of university disciplinary proceedings relating to alleged sexual harassment in the
 7   past.” ECF 88-1 at 4 (FIRE); see also 5 (Speech First). But Movants do not explain or allege how
 8   the definition of “sexual harassment” was relevant to any particular member’s past disciplinary
 9   proceedings. See Summers v. Earth Island Inst., 555 U.S. 488, 495 (2009) (holding that past injury
10   could not suffice for standing where “it was not tied to application of the challenged regulations”).
11   Even if they did plausibly allege that they were injured in the past by a university using a definition
12   of sexual harassment that differs from the 2020 Regulations, such past injury cannot establish
13   current standing. See Mayfield, 599 F.3d at 970 (noting that ordinarily “[p]ast exposure to harmful
14   or illegal conduct” does not confer standing where the party does not seek retrospective relief).
15   And Speech First’s allegation, not repeated by the other Movants, that its members “could be
16   subject” to disciplinary proceedings by their colleges “in the future,” ECF 88-1 at 5, is far too
17   tenuous to support standing. That threatened injury is not “clearly impending” or “fairly traceable”
18   to the relevant part of the 2020 Regulations that Movants seek to intervene to defend.
19                                                   ***
20          For the above reasons, Movants lack Article III standing, and so cannot intervene by right
21   in WSU’s suit.
22          B.        Movants Have Not Established a Protectable Interest Related to WSU’s
23                    Claims

24          Even if Movants could establish Article III standing, they lack a “significant protectable
25   interest” in the subject of this litigation, as is required for intervention as of right. Geithner, 644
26   F.3d at 841. “An applicant seeking intervention is held to have a significant protectable interest in
27   an action if (1) the applicant asserts an interest that is protected under some law, and (2) there is a
28
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 1   relationship between the applicant’s legally protected interest and the plaintiff’s claims.” United

 2   States v. Sprint Comm., Inc., 855 F.3d 985, 991 (9th Cir. 2017) (internal quotation marks and

 3   alterations omitted). Here, Movants’ three putative interests do not satisfy these conditions.

 4             First, Movants are not entitled to intervene simply because they supported the 2020

 5   Regulations’ definition during the regulatory notice-and-comment process. ECF 88-1 at 7. True,

 6   where a public interest group is “directly involved” in establishing a state statute or federal

 7   regulation, they may have a significant protectable interest in that statute or regulation. Nw. Forest

 8   Res. Council v. Glickman, 82 F.3d 825, 837 (9th Cir. 1996), as amended on denial of reh’g (May

 9   30, 1996); see United States v. City of Los Angeles, 288 F.3d 391, 402 n.5 (9th Cir. 2002) (stating

10   that “special interest groups” may intervene in suits “challenging measures the organizations

11   helped to create” (emphasis added)). But Movants submitted two of the over 124,000 public

12   comments the Department received on its proposed Regulations prior to their promulgation in

13   2020. 85 Fed. Reg. at 30,044. Surely, not every one of these commenters is entitled to intervene

14   as of right. Such a minimal degree of participation in an administrative proceeding falls well short

15   of the “direct involve[ment]” courts in this Circuit have found to justify the intervention of public

16   interest groups in the past. See, e.g., Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1398 (9th

17   Cir. 1995) (conservation group permitted to intervene in action to delist the Spring Snail as an

18   endangered species where it had filed the suit that compelled the agency to list the Spring Snail as

19   endangered in the first place); see also Nw. Forest Resource Council, 82 F.3d at 837-38 (collecting

20   cases).

21             Nor can Movants simply rest on the fact that they are “public interest groups that advocate

22   for the free speech and due process rights the rule protects.” ECF 88-1 at 7. That the 2020

23   Regulations adopted a definition “of the type that [each group] supports and promotes” is

24   insufficient to establish a significantly protectable interest in the subject of this action. Bates v.

25   Jones, 127 F.3d 870, 874 (9th Cir. 1997) (denying intervention to a public interest group that

26   advocated for term limits in a case challenging term limits). Plus, to the extent Movants’ argument

27   relies on their interest in due process rights, those are entirely disconnected from the claims at

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 1   issue here, which do not concern challenges to the 2020 Regulations’ procedural provisions. See

 2   generally Am. Compl., ECF 78.

 3          Second, Movants do not have a legally protectable interest in allocating their resources any

 4   particular way. A parties’ diversion of resources may be sufficient to show injury-in-fact for

 5   purposes of standing. See Havens Realty Corp. v. Coleman, 455 U.S. 363, 369 (1982). But injury-

 6   in-fact is merely necessary, not sufficient, to establish a legally protectable interest required for

 7   mandatory intervention under Rule 24. Relevant here, to establish a legally protectable interest, it

 8   is not enough for an applicant to have an economic interest in a suit; the economic interest must

 9   be protected by law. See, e.g., Greene v. United States, 996 F.2d 973, 976 (9th Cir. 1993) (“An

10   economic stake in the outcome of the litigation, even if significant, is not enough.”); Nikon Corp.

11   v. ASM Lithography B.V., 222 F.R.D. 647, 650-51 (N.D. Cal. 2004) (holding movant’s economic

12   interest in lawsuit was not protectable absent legal entitlement); ECF 27 at 15-16 (collecting cases).

13   It is certainly true that, as Movants’ case notes, “evidence that bolsters [a plaintiff’s] standing to

14   sue” may, in some cases, “also bolster[] the case for intervention.” California ex rel. Lockyer, 450

15   F.3d 436, 442 (9th Cir. 2006). But that does not mean Article III standing and a “legally protectable

16   interest” are identical. Besides, as explained above, FIRE and Speech First’s diversion-of-

17   resources theory is highly speculative, and the Independent Women’s Law Center does not even

18   attempt to lay out such an argument. See supra pages 3-6.

19          Third, Movants cannot demonstrate the necessary non-speculative “relationship” between

20   the free speech and due process rights of their members and the claims at issue here. See United

21   States v. Alisal Water Corp., 370 F.3d 915, 919 (9th Cir. 2004) (noting legally protectable interest

22   must be “non-speculative” and “related to the underlying subject matter of the action”); Habeas

23   Corpus Res. Ctr. v. U.S. Dep’t of Just., 627 F. App’x 662, 663 (9th Cir. 2015) (denying intervention

24   because alleged interest was too speculative). As explained above, FIRE and Speech First have

25   not plausibly alleged that vacating the 2020 Regulations would actually threaten the constitutional

26   rights of their members. See supra pages 3-7. And the Independent Women’s Law Center does not

27   indicate it has any student members at all. ECF 88-1 at 4-5.

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 1           C.      Movants Have Not Overcome the Presumption of Adequate Representation

 2           To the extent that Movants have shown standing and a significant and legally protectable

 3   interest in this litigation, they have not overcome the presumption that the Defendant will

 4   adequately represent that interest. “Where [a] party and the proposed intervenor share the same

 5   ultimate objective, a presumption of adequacy of representation applies.” Geithner, 644 F.3d at

 6   841 (internal quotation marks omitted). And “[i]n the absence of a very compelling showing to the

 7   contrary, it will be presumed that a [government] adequately represents its citizens when the

 8   applicant shares the same interest.” Arakaki v. Cayetano, 324 F.3d 1078, 1086 (9th Cir. 2003), as

 9   amended (May 13, 2003) (internal quotation marks omitted). Crucially, strategic differences do

10   not amount to different ultimate objectives. See United States v. City of Los Angeles, 288 F.3d at

11   402-03 (“[D]ifferences in strategy . . . are not enough to justify intervention as a matter of right.”);

12   Nw. Forest Res. Council, 82 F.3d at 838 (same). Here, Movants contend that, for three reasons,

13   the Defendant does not adequately represent their interests. Those arguments are far from “very

14   compelling.” Arakaki, 324 F.3d at 1086.

15                   1. Movants Have Not Demonstrated that the Defendant Does Not Share Their
                        Objective to Defend the 2020 Regulations
16

17           Movants’ objective within to scope of the litigation is to protect the 2020 Regulations. See
18   ECF 88-1 at 1, 10. The organizations assert that “the divergent policy positions of this
19   administration and the last call into question the likelihood that the Department’s current
20   leadership will offer a robust defense of all portions of the [2020 Regulations].” ECF 88-1 at 10.
21   But courts generally assume a government will defend its own policies. See, e.g., Geithner, 644
22   F.3d at 841; Victim Rts. L. Ctr. v. Rosenfelt, 988 F.3d 556, 561 (1st Cir. 2021), cert. filed, No. 21-
23   84 (S. Ct. July 21, 2021); Valley View Health Care, Inc. v. Chapman, No. 1:13-CV-0036-LJO-
24   BAM, 2013 WL 4541602, at *8 (E.D. Cal. Aug. 27, 2013). Indeed, it has. Since this lawsuit’s
25   inception, the Department has vigorously and skillfully defended against it. It successfully moved
26   to dismiss WSU’s first complaint, see ECF 75, and has now moved to dismiss WSU’s amended
27

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 1   complaint, see ECF 89. The Court does not need to predict, then, whether the Department will

 2   defend this lawsuit, because the Court knows the Department is already doing so.

 3          Moreover, the Movants have offered nothing to demonstrate that the Department has

 4   changed its positions on the four provisions WSU challenges, only one of which the Movant

 5   discusses in its motion. As this Court previously noted, “[t]here is no guarantee that the Department

 6   will rescind the Regulations,” given that President Biden’s executive order “only instructs the

 7   Department to ‘review’ the Regulations” and “Secretary Goldberg’s letter does not indicate exactly

 8   how the Department intends to change the Regulations.” ECF 56 at 2 (denying Defendant’s motion

 9   to stay). Plus, none of the Administration’s statements say anything at all about the four particular

10   provisions WSU challenges here. Nor does the Department’s 2021 guidance reflect a lack of

11   fidelity to the challenged provisions, as Movants assert without any explanation at all. ECF 88-1

12   at 3, 10. That guidance document is faithful to the 2020 Regulations, indicating that the Department

13   continues to enforce the Trump-era rules as written. See, e.g., U.S. Dep’t. of Educ., Questions and

14   Answers     on    the   Title   IX    Regulations     on    Sexual    Harassment      4-8    (2021),

15   https://www2.ed.gov/about/offices/list/ocr/docs/202107-qa-titleix.pdf (explaining definition of

16   sexual harassment under 2020 Regulations); id. at 8-10 (explaining geographic limitations

17   imposed by 2020 Regulations); id. at 10-13 (explaining notice requirement imposed by 2020

18   Regulations); id. at 13-14 (explaining deliberate indifference requirement imposed by 2020

19   Regulations).

20          The Department’s decision not to cross-appeal the district court’s ruling in Victim Rights

21   Law Center v. Cardona is also insufficient to establish inadequate of representation at this stage.

22   In that case, a group of plaintiffs challenged the entirety of the 2020 Regulations. Victim Rts. L.

23   Ctr. v. Cardona, -- F.Supp.3d ---, 2021 WL 3185743, at *1 (D. Mass. July 28, 2021), order

24   clarified, No. CIV 20-11104-WGY, 2021 WL 3516475 (D. Mass. Aug. 10, 2021). The

25   Department’s defense was largely successful, save for one ancillary evidentiary rule applicable

26   only to hearings conducted by colleges and universities. See id. at *19. That rule is not at issue in

27   this suit, see generally Am. Compl.; ECF 78; WSU would not have standing to challenge it, since

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 1   it does not apply to K-12 schools at all, see 34 C.F.R. § 106.45(b)(6)(i). And it is little surprise that

 2   the Department decided not to defend that portion further on appeal: The provision was so facially

 3   nonsensical that, even before the effective date, the Department was forced to publish a notice

 4   explaining that it would not enforce that evidentiary rule according to its plain text, given the

 5   absurd results that would follow. See Office for Civil Rights Blog – 20200522 (May 22, 2020),

 6   https://www2.ed.gov/about/offices/list/ocr/blog/20200522.html. The Defendant’s decision not to

 7   file a cross-appeal to defend one narrow provision irrelevant to this litigation, then, is insufficient

 8   to overcome the uncontroverted evidence that the Defendant has, and will continue to, defend

 9   against WSU’s suit. Besides, if Movants fear that the Department will fail to appeal an adverse

10   outcome in this case, the solution is simple: Movants could intervene at that juncture, just as Texas

11   did in Victim Rights Law Center. See ECF 84 at 2 n.2; see also Solid Waste Agency of N. Cook

12   Cty. v. U.S. Army Corps of Engineers, 101 F.3d 503, 509 (7th Cir. 1996) (Posner, J.) (explaining

13   “[t]he proper way to handle” the possibility that a government defendant will not appeal “when as

14   here no present inadequacy of representation can be shown”).

15                   2. Movants’ Desire to Add Constitutional Arguments Does Not Establish
                        Inadequacy
16

17           Movants argue that the Defendant does not adequately represent their interests because the
18   Defendant, in its defense of the 2020 Regulations, will not make their favored constitutional
19   argument—an argument that, if successful, might foreclose the Department from adopting some
20   alternative positions in the future. ECF 88-1 at 13. But these putative differences are not enough
21   to defeat the presumption of adequate representation because Movants’ objectives only diverge
22   from the Defendant’s with respect to matters outside the scope of this case. New York v. U.S. Dep’t
23   of Educ., No. 20-CV-4260 (JGK), 2020 WL 3962110, at *4 (S.D.N.Y. July 10, 2020) (denying
24   Movants’ attempt to intervene in a different challenge to the Regulations because “[i]n the scope
25   of issues presented in this case, the objectives of the [Movants] and [the Defendant] are aligned”
26   (emphasis added)), order vacated on other grounds, appeal dismissed (Mar. 10, 2021).
27

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                              i.   The 2020 Regulations May Not Be Defended on the Novel
 1                                 Constitutional Grounds Movants Advance
 2

 3          To start with the basics: WSU’s lawsuit is about the 2020 Regulations and the 2020
 4   Regulations alone. The sole question before the Court is whether four portions of those rules were
 5   adopted in compliance with the APA. WSU asserts that, in adopting its definition of sexual
 6   harassment, the Defendant failed to grapple with tradeoffs and provide reasoned explanations—
 7   procedures required by the APA. ECF 1 at 22-23, ¶¶ 85-89. WSU’s claim, then, does not call on
 8   the Court to identify the full set of definitions the Department could ever adopt. It only asks
 9   whether this one, promulgated in this way, is legal.3
10          “It is a ‘foundational principle of administrative law’ that judicial review of agency action
11   is limited to ‘the grounds that the agency invoked when it took the action.’” Dep’t of Homeland
12   Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1907 (2020) (quoting Michigan v. EPA, 576
13   U.S. 743, 758 (2015) (citing SEC v. Chenery Corp., 318 U.S. 80, 87 (1943)). As a result, the 2020
14   Regulations can only be defended based on a fixed universe of justifications already endorsed by
15   the Department. And Movants are clear that their constitutional argument is not one the
16   Department used to explain its adoption of the 2020 Regulations; after all, that is why Movants
17   are confident the Defendant will not advance its favored arguments. ECF 88-1 at 13. To the extent
18

19
     3
      WSU does not, as Movants claim, argue that Title IX and the APA “mandate” one particular
     “broadened definition of ‘sexual harassment.’” ECF 88-1 at 2. That is, WSU does not make a
20   Chevron step one argument that, in passing Title IX, Congress expressed a clear view on what
     definition of sexual harassment the Department should employ. See, e.g., Chevron, U.S.A., Inc. v.
21   Nat. Res. Def. Council, Inc., 467 U.S. 837, 842-43 (1984); Bicycle Trails Council of Marin v.
     Babbitt, 82 F.3d 1445, 1452 (9th Cir. 1996), as amended (June 17, 1996).
22

23   For their part, although the Movants at times suggest the 2020 Regulations’ definition is
     constitutionally required, their actual argument is a little different: They say that “any broader
24   definition of sexual harassment [than the one in the 2020 Regulations] would violate the First
     Amendment” as applied to higher education. ECF 88-1 at 2. They never suggest that a narrower
25   definition would be unconstitutional. Like the Defendant, then, Movants also defend the 2020
     Regulations’ definition of sexual harassment as one within a “range of constitutionally permissible
26
     definitions,” id. —specifically, one at the outer bound of that range. Perhaps Movants and the
27   Defendant disagree about the precise contours of the universe of constitutional definitions (though
     that is not apparent from Movants’ briefing). But both agree the 2020 Regulations adopted a
28   definition of sexual harassment from within a set of constitutionally permissible options.
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 1   Movants support the current definition of sexual harassment for a reason different than that given

 2   by the Defendant, such reasoning cannot play into the outcome of this suit. Movants thus cannot

 3   offer anything to this litigation beyond what the Defendant already provides. See Nw. Forest Res.

 4   Council, 82 F.3d at 838 (evaluating advocacy based on whether applicants would “offer” anything

 5   to the proceedings that existing parties would “neglect”).4

 6          No wonder, then, that other courts have already denied Movants’ intervention into APA

 7   challenges to the 2020 Regulations on the grounds that their concerns about the constitutionality

 8   of alternative definitions are outside the bounds of those cases. Victim Rts. L. Ctr., 988 F.3d at

 9   562-63; New York, No. 20-CV-4260 (JGK), 2020 WL 3962110, at *3, order vacated on other

10   grounds, appeal dismissed (Mar. 10, 2021). The Defendant’s sound decision not to try to turn an

11   APA challenge to an existing regulation into a sweeping survey of all the hypothetical positions

12   the Department can and cannot take going forward would not render the government an inadequate

13   representative. Victim Rts. L. Ctr., 988 F.3d at 562-63; New York, No. 20-CV-4260 (JGK), 2020

14   WL 3962110, at *4.
                             ii.   Movants’ Argument Runs Headlong Into Principles of
15                                 Constitutional Avoidance
16          As the First Circuit noted in denying Movants’ intervention in a similar challenge, “[c]ourts
17   are obliged to avoid rulings on constitutional questions when non-constitutional grounds will
18   suffice to resolve an issue.” Victim Rts. L. Ctr., 988 F.3d at 563; see also Lyng v. Nw. Indian
19   Cemetery Protective Ass’n, 485 U.S. 439, 445 (1988) (“A fundamental and longstanding principle
20   of judicial restraint requires that courts avoid reaching constitutional questions in advance of the
21   necessity of deciding them.”). “The [M]ovants’ putative interest in having certain constitutional
22   issues addressed now rather than later,” the Court explained, “does not obviate the principle of
23   constitutional avoidance.” Victim Rts. L. Ctr., 988 F.3d at 563; see also New York, No. 20-CV-
24
     4
25    Intervenors might be allowed to advance alternative justifications not relied on by the agency in
     one circumstance: Chevron step one arguments, in which they contend “Congress has directly
26   spoken to the precise question at issue,” Chevron, 467 U.S. at 842, and so no analysis of the
     agency’s reasoning is necessary. See Eagle Pharms., Inc. v. Azar, 952 F.3d 323, 331 n.12 (D.C.
27   Cir. 2020) (citing cases). For the reasons described above, the challenge to the 2020 Regulations’
     definition of sexual harassment requires instead a step two inquiry. See supra page 13 n.3.
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 1   4260 (JGK), 2020 WL 3962110, at *3 n.2 (explaining that constitutional avoidance advises against

 2   Movants’ intervention in challenge to 2020 Regulations).

 3           Such avoidance is particularly appropriate here because the constitutional questions are not

 4   only unnecessary but unhelpful in resolving the case. Cf. California ex rel. Lockyer, 450 F.3d at

 5   444 (holding government was inadequate representative where movants’ unique positions related

 6   to constitutional questions might influence case outcome); United States v. Oregon, 839 F.2d 635,

 7   638 (9th Cir. 1988) (same). Even if Movants were correct that the Department’s previous sexual

 8   harassment definitions were unconstitutional, that would not resolve the question of whether the

 9   Department’s adoption of this definition, from among the permissible options, complied with the

10   APA’s procedural requirements. See supra pages 13-14 & n.3. Movants’ constitutional concerns,

11   then, are neither necessary nor sufficient to resolve this case.

12           Movants fail to distinguish their motion to intervene in this case from their unsuccessful

13   attempt to intervene in Victim Rights Law Center v. Rosenfelt, which the First Circuit rejected

14   largely on constitutional avoidance grounds. Cherry-picking language, Movants suggest that the

15   Ninth Circuit requires a lesser showing of inadequate government representation than does the

16   First. ECF 88-1 at 11. Not so. To be sure, the Ninth Circuit generally does not require an applicant

17   demonstrate inadequacy with “absolute certainty.” Citizens for Balanced Use v. Mont. Wilderness

18   Ass’n, 647 F.3d 893, 900 (9th Cir. 2011). But neither does the First Circuit. See, e.g., Victim Rts.

19   L. Ctr., 988 F.3d at 561 (“Generally, an applicant for intervention need only make a minimal

20   showing that the representation afforded by existing parties likely will prove inadequate.” (internal

21   quotation marks omitted)). And, like the First Circuit, the Ninth Circuit requires a “very

22   compelling showing” to overcome the presumption that the government will adequately represent

23   an applicant’s interest. Arakaki, 324 F.3d at 1086; see also Victim Rts. L. Ctr, 988 F.3d at 561

24   (requiring “a strong affirmative showing that the [government] is not fairly representing the

25   Movants’ interests” (internal quotation marks omitted)). Indeed, Movants’ intervention is even

26   less justified in this case than it was in Victim Rights Law Center. In the latter, plaintiffs challenge

27   the 2020 Regulations not only on APA grounds, but also as a violation of the equal protection

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 1   guarantee of the Fifth Amendment—a claim for which novel constitutional defenses might be

 2   appropriate. See Victim Rts. L. Ctr, 988 F.3d at 559, 560 n.1. Movants’ arguments that their

 3   constitutional arguments were permissible grounds to defend the rule, then, were stronger in the

 4   First Circuit.5
                             iii.   Movants’ Argument Is Not Relevant to the Remedy
 5

 6           Perhaps realizing its constitutional argument is not a permissible reason for upholding the
 7   2020 Regulations’ definition, Movants newly contend that its argument might relate to the remedy

 8   available if WSU succeeds on the merits. ECF 88-1 at 13-14. Its brief assertions in support, though,

 9   do not hold water.

10           First, Movants contend that the Court might “deem any legal deficiencies in the

11   Department’s explanation for the definition to have been harmless error. Id. But “harmless error”
     analysis, like all other review of agency decision-making, is limited to the same reasons the
12
     government originally gave for its challenged action. See, e.g., Marsh v. Colvin, 792 F.3d 1170,
13
     1172 (9th Cir. 2015) (“If the district court had applied harmless error in a way that affirmed the
14
     agency on a ground not invoked by the ALJ, then the district court would have violated the Chenery
15
     principle.”); Gifford Pinchot Task Force v. U.S. Fish & Wildlife Serv., 378 F.3d 1059, 1072 (9th
16
     Cir.) (“An explanation that ‘even if the [agency] had not used the incorrect regulatory definition,
17
     the same outcome would have resulted’ is a post-hoc decision explanation that is disfavored.”),
18
     amended, 387 F.3d 968 (9th Cir. 2004); Wright & Miller, Harmless Error, 33 Fed. Prac. & Proc.
19
     § 8394 (2d ed. 2021) (explaining Chenery’s constraints on harmless error review). Movants, then,
20   are out of luck once again: The argument they insist they must be allowed to make is one simply
21   unavailable in this case.
22           Besides, the “harmless error” doctrine only applies “when there is not the slightest
23   uncertainty as to the outcome of a proceeding on remand.” Manin v. Nat’l Transp. Safety Bd., 627
24   5
       In trying to distinguish Victim Rights Law Center, Movants also suggest, in passing, that the
25   Ninth Circuit has rejected the First Circuit’s logic in explaining that adequacy should not be
     “defin[ed] . . . in terms of what existing parties are going to argue,” but instead “in terms of the
26   interests of the [Movants] in the subject matter of the litigation.” ECF 88-1 at 11 (quoting Oregon,
     839 F.2d at 638). But the core problem with Movants’ constitutional argument as a justification for
27   intervention is not that the Defendant will not make it. It is that the Defendant, and any intervenor,
     could not and should not make it. See Victim Rts. L. Ctr, 988 F.3d at 562-63; supra pages 13-14.
28
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 1   F.3d 1239, 1243 n.1 (D.C. Cir. 2011) (internal brackets and quotation marks omitted); see also

 2   Gifford Pinchot Task Force, 378 F.3d at 1071 (“The [harmless error] doctrine may be employed

 3   only ‘when a mistake of the administrative body is one that clearly had no bearing on the procedure

 4   used or the substance of decision reached.’”). Movants do not and cannot contend that would be
     true here, because they do not and cannot contend that the 2020 Regulations’ definition is the only
 5
     permissible one; they assert only that it is a “constitutional floor” with respect to discipline of
 6
     students in higher education.6 ECF 88-1 at 14; see also supra page 13 n.3. By Movants’ own
 7
     account, then, there is some “uncertainty” as to how the Department would write the definition on
 8
     remand, so the harmless error doctrine cannot apply. The Department’s predicted failure to make
 9
     this argument, then, cannot render it an inadequate representative.
10
            Second, Movants say that vacatur might not be the appropriate remedy “in light of the
11
     seriousness of the agency’s errors and disruption that vacatur would cause.” Id. But, as just
12
     explained, Movants’ arguments do not pertain to the seriousness of the Department’s mistakes.
13
     And they fail to point to any relationship between their constitutional theory and what disruption
14   might occur upon vacatur. Without more, there is no basis for the Court to conclude the Department
15   will inadequately represented Movants with respect to remedies.
16
                    3. Movants’ Different Motivations for Defending the Rule Do Not Establish
17                     Inadequacy

18          Movants also argue that the Defendant is an inadequate representative because the
19   government cares about both protecting free speech and stopping sexual harassment, and Movants
20   are concerned only with the former. ECF 88-1 at 11-12. But this purported difference in
21   motivations does not, on its own, establish inadequacy. After all, government actors will always
22   have unique institutional concerns about how to balance different constituencies’ needs and
23   6
       To illustrate why Movants must be correct this definition is not the only possible one: Suppose
24   Movants were right and the definition challenged here corresponded to the least serious harassment
     for which a student at a public institute of higher education could be punished. The Department
25   could still adopt a definition more stringent than the constitutional baseline. It could adopt a
     broader definition for K-12 schools than would be permissible for colleges and universities; after
26
     all, Movants’ arguments relate only to the definition as applied to higher education. See supra page
27   6 & n.2. The Department could also adopt one definition for when a school must initiate a
     disciplinary investigation into sexual harassment and a broader definition for when a school must
28   offer supportive services, such as counseling, to a victim. See 34 C.F.R. §§ 106.30(a), 106.44(a).
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 1   priorities. Yet they are specially presumed to serve as adequate representatives for those who share

 2   their ultimate goals in the litigation. See supra page 10; see also Prete v. Bradbury, 438 F.3d 949,

 3   957 (9th Cir. 2006) (rejecting proposed reason to find inadequate representation that would apply

 4   to governments in general, and so “eliminate the presumption of adequate representation when the

 5   government and the intervenor-applicant share the same interest”). Movants’ “purely speculative”

 6   notion that the Defendant’s interest, even if presently aligned with Movants’, may “at some other

 7   unspecified time in the future[] diverge” in the event of a future rulemaking does not justify

 8   intervention. League of United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1307 (9th Cir. 1997).

 9          In assessing adequacy of representation, courts look not to parties’ and movants’

10   motivations broadly, but to their goals within the litigation. See Perry v. Proposition 8 Off.

11   Proponents, 587 F.3d 947, 949 (9th Cir. 2009) (finding that movant effectively had “identical

12   interests” to existing parties where they shared an “ultimate bottom line”: “uphold[ing]”

13   challenged legislation). The Ninth Circuit’s decision in Arakaki v. Cayetano illustrates that

14   principle. There, a group of native Hawaiians (collectively “Hoohuli”) sought to intervene in a

15   lawsuit challenging the provision of benefits by Hawaiian state agencies. Arakaki, 324 F.3d at

16   1081. Undoubtedly, Hoohuli, as recipients of the benefits, had different motivations than the state

17   defendants, the providers of the benefits. But the Ninth Circuit concluded that, because the

18   defendants shared the goal of defending the state’s actions, and were ready and able to make all

19   relevant arguments, they adequately represented Hoohuli. Id. at 1086-88.

20          Both Movants and the Defendant seek to defend the 2020 Regulations. See supra pages

21   10-12. To the extent the Movants pursue an additional objective—hamstringing future agency

22   action—that is well outside the scope of this case. See supra pages 12-17. And Movants do not

23   explain how their exclusive concern for free speech protection will, practically, lead to different

24   strategic decisions given that no party can defend the 2020 Regulations on grounds not advanced

25   by the Department during its rulemaking. See supra pages 13-14. That distinguishes this case from

26   Trbovich v. United Mine Workers of America, 404 U.S. 528 (1972), where the applicant urged

27   additional grounds for the court to reach the existing party’s shared objective, id. at 529-30, and

28
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 1   also sought unique injunctive relief beyond that requested by the plaintiff, id. at 530 & n.3. There,

 2   intervention could give rise to different “approach[es] to the conduct of the litigation.” Id. at 539.

 3   But there is no way for Movants’ preferred constitutional arguments to come into play as the Court

 4   adjudicates this APA challenge, and thus no reason to find the Defendant’s existing representation

 5   inadequate.

 6           Californians for Safe and Competitive Dump Truck Transportation v. Mendonca, 152 F.3d

 7   1184 (9th Cir. 1998), is similarly inapposite. There, a union-intervenor provided specific reasons

 8   to think the mismatch between the scope of its interest and the state defendants’ would result—

 9   and indeed already had resulted—in meaningfully different litigation positions that rendered the

10   existing parties’ representation inadequate. Br. for Appellee, Californians for Safe & Competitive

11   Dump Truck Transp., 1997 WL 33551014 at *41 (9th Cir. Oct. 6, 1997). Because the only

12   additional “point of view” Movants bring falls outside the scope of this litigation, they fail to

13   overcome the presumption of adequate representation.

14           D.      Movants’ Interests Will Not Be Impaired in the Absence of Intervention

15           Movants are also not entitled to mandatory intervention because they will have many other

16   opportunities to protect their asserted interests. See, e.g., Alisal, 370 F.3d at 918 (holding that

17   applicant had protectable interest but could protect that interest through separate avenues); United

18   States v. City of Los Angeles, 288 F.3d at 402 (same). There are many other ways in which Movants

19   will be able to advocate for their preferred definition. First, so long as they can establish standing,

20   Movants and their members could file lawsuits against schools that continue to use a “severe or

21   pervasive” definition of sexual harassment, in hopes of striking down those policies and

22   establishing precedent that a narrow definition is constitutionally required in higher education. See

23   New York, No. 20-CV-4260 (JGK), 2020 WL 3962110, at *3 (denying FIRE intervention in part

24   because it “is at liberty to initiate litigation alleging that the [2020 Regulations are] required by the

25   Constitution”). Second, when the Department initiates rulemaking on Title IX, Movants will be

26   able to make their views known in the notice and comment period. 5 U.S.C. § 553(c); see also

27   Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal

28
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 1   Financial       Assistance,      RIN:       1870-AA16,         Reginfo.gov        (Spring       2021),

 2   https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202104&RIN=1870-AA16

 3   (noting the Department intends to engage in unspecific rulemaking under Title IX sometime in or

 4   after May 2022). They can, in that forum, share their view that any definition of sexual harassment

 5   broader than the one the Department adopted in the 2020 Regulations would run afoul of the

 6   Constitution. Third, if the Department nonetheless adopted a view contrary to Movants’ policy

 7   preferences, the organizations and their members could file their own APA or constitutional

 8   challenge if they can establish standing. 5 U.S.C. § 706. In short, if Movants wish to challenge

 9   future action the Department might take, they will have plenty of chances to do so. But not here.

10          Movants are wrong to suggest the “potential stare decisis effects” of the Court’s ruling will

11   impair their ability to stop the Department from adopting a different definition of sexual

12   harassment in the future. ECF 88-1 at 8. Even by their own account, Movants will not be hurt by

13   this Court upholding the 2020 Regulations on reasons other than Movants’ favored constitutional

14   argument; that is, they will not be in a worse position than they are now or before WSU brought

15   suit. As explained above, the Court is not called, in this case, to judge any sexual harassment

16   definitions other than the one contained in the 2020 Regulations. See supra pages 13-14 & n.3.

17   The Court’s decision, then, will in no way foreclose Movants from arguing, in the future, that any

18   broader definition the Department might adopt is unconstitutional. New York, No. 20-CV-4260

19   (JGK), 2020 WL 3962110, at *3 (“Because the issue of what rules the Constitution requires is not

20   an issue the Court needs to reach to resolve the claims in the Complaint . . . the movant’s interest

21   will not be ‘adversely affected . . . by principles of stare decisis, arising out of the final judgment

22   to be entered in this case.’”). To be sure, Movants might like for the Court to proclaim

23   unnecessarily on the alleged unconstitutionality of other potential definitions, and so provide a

24   citation useful for potential future advocacy related to potential future agency action. But their

25   interests will not be impaired, in either the colloquial or technical sense of the word, if the Court

26   does not do so—a far cry from the sort of injury-by-precedent that can justify intervention. See

27   Greene, 996 F.2d at 977 (finding that stare decisis concerns only come into play where the

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 1   “precedential impact” will “clear[ly]” and “directly” affect “subsequent relief sought by the

 2   [applicant]”); Day v. Apoliona, 505 F.3d 963, 965 (9th Cir. 2007) (noting state’s interest in

 3   protecting its lands and resultant proceeds might be impeded if a precedential opinion established

 4   a right of action to challenge the use of those proceeds).

 5                                                    ***

 6          For the above reasons, Movants are not entitled to intervention as of right.

 7   II.    The Court Should Deny Movants Permissive Intervention

 8          Movants also fail to meet the requirements for permissive intervention. Under Federal Rule

 9   of Civil Procedure 24(b)(1)(B), a court may exercise discretion to grant permissive intervention to

10   an applicant that “shows (1) independent grounds for jurisdiction; (2) the motion is timely; and (3)

11   the applicant’s claim or defense, and the main action, have a question of law or a question of fact

12   in common.” Perry, 587 F.3d at 955. Even if an applicant meets the threshold jurisdictional,

13   timeliness, and commonality requirements, a district court nonetheless retains broad discretion to

14   deny permissive intervention. Donnelly v. Glickman, 159 F.3d 405, 412 (9th Cir. 1998). In

15   exercising that discretion, courts “must consider whether the intervention will unduly delay or

16   prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3). The Court may

17   also consider factors—sometimes known as “Spangler factors” after an influential case—

18   including “the nature and extent of the intervenors’ interest, their standing to raise relevant legal

19   issues, the legal position they seek to advance, and its probable relation to the merits of the case

20   . . . , [and] whether the intervenors’ interests are adequately represented by other parties.” Spangler

21   v. Pasadena City Bd. of Educ., 552 F.2d 1326, 1329 (9th Cir. 1977).

22          A.      Movants’ Alleged Interests are Too Speculative and Attenuated from WSU’s
                    Claims
23

24          As with mandatory intervention, permissive intervention is not appropriate where, as here,
25   the movant’s interests are “nonexistent, contingent on future events, or tangential to th[e]
26   proceeding.” Mishewal Wappo Tribe of Alexander Valley v. Salazar, No. 5:09-CV-02502 EJD,
27   2012 WL 4717814, at *6 (N.D. Cal. Sept. 28, 2012), aff’d, 534 F. App’x 665 (9th Cir. 2013). In
28
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 1   such a circumstance, the applicant’s defense and the main action lack a common question of law

 2   or fact—a threshold requirement for permissive intervention. See id.; see also Med. Advocates for

 3   Healthy Air v. EPA, No. CV 11-3515 SI, 2011 WL 4834464, at *5 (N.D. Cal. Oct. 12, 2011)

 4   (holding applicant failed to make threshold showing for permissive intervention because its alleged

 5   interests were speculative and too attenuated from plaintiff’s case). The discretionary Spangler

 6   factors also weigh against granting intervention when a movant’s interests are so speculative and

 7   attenuated from the plaintiff’s action. See Spangler, 552 F.2d at 1329 (noting court may consider

 8   “the nature and extent of the intervenors’ interest” and their positions’ “probable relation to the

 9   merits of the case”).

10           As described above, Movants’ alleged interests in this litigation are highly speculative with

11   no established connection to WSU’s claims. See supra pages 3-7, 9. Movants clearly like the 2020

12   Regulations and would prefer the Department not deviate from those in the future. But they have

13   not established that WSU’s success would affect them in any concrete, non-speculative way. As

14   such, Movants cannot establish the requisite common question of law or fact related to the specific

15   claims at issue in this case, and the Spangler factors discourage permissive intervention as well.

16           B.      Movants Have Not Overcome the Presumption that the Defendant Will
                     Represent its Interests
17

18           As with intervention as of right, “the adequacy of representation alone is a sufficient ground
19   to deny permissive intervention.” Carroll v. Wells Fargo & Co., No. 15-CV-02321-EMC, 2016
20   WL 3951650, at *1 (N.D. Cal. July 22, 2016) (Chen, J.); see also Spangler, 552 F.2d at 1329
21   (noting court may consider “whether the intervenors’ interests are adequately represented by other
22   parties”). For the reasons explained above, Movants have failed to overcome the presumptions that
23   the Defendant will adequately represent their putative interests. See supra pages 10-19.
24           C.      Movants’ Intervention Will Cause Undue Delay and Prejudice
25           Just as important here is a concern that uniquely dominates consideration of permissive
26   intervention: potential “undu[e] delay or prejudice [of] the adjudication of the original parties’
27   rights.” Fed. R. Civ. P. 24(b)(3). Intervention will cause such an effect if it will insert into the case
28
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 1   “extraneous legal and factual issues that [the plaintiff’s] lawsuit would not otherwise invoke.”

 2   Apple Inc. v. Iancu, No. 5:20-CV-06128-EJD, 2021 WL 411157, at *5 (N.D. Cal. Feb. 5, 2021)

 3   (quoting UMG Recordings, Inc. v. Bertelsmann AG, 222 F.R.D. 408, 414 (N.D. Cal. 2004)). “Such

 4   allegations would divert time and resources from the principal thrust of [the plaintiff’s] lawsuit

 5   and entangle the legal and factual issues involved therein within a web that is not of the original

 6   parties’ making.” Id.; see also Sierra Club v. EPA, No. 13-CV-2809-YGR, 2013 WL 5568253, at

 7   *5 (N.D. Cal. Oct. 9, 2013) (denying permissive intervention because applicant’s claims were “not

 8   at issue in th[e] litigation” and “opening the door to . . . additional contentions would only serve

 9   to confuse the matters at issue in the complaint”).

10           Movants’ intervention would have exactly this effect. As discussed above, Movants seek

11   intervention to make arguments that are well outside the scope of WSU’s suit. See supra pages 12-

12   14. These arguments cannot, as a matter of administrative law, influence the Court’s adjudication

13   of this APA challenge one way or the other. See supra pages 13-17. Movants’ participation would

14   thus serve as a pure distraction, furthering neither the Court’s ability to adjudicate this case nor

15   Movants’ purported interests in this litigation. See Perry, 587 F.3d at 956 (weighing the “value

16   added” by an applicant in assessing permissive intervention). For that reason, the Court should

17   deny permissive intervention. Cf. Apple Inc., No. 5:20-CV-06128-EJD, 2021 WL 411157, at *6

18   (denying permissive intervention because it “[ran] the risk of transforming th[e] case from one

19   assessing . . . a single discretionary agency rule to one evaluating an effort to compel rulemaking”).

20   III.    If the Court Grants Some Form of Intervention, It Should Limit Movants’
             Involvement
21

22           For the reasons explained above, the Court should not grant Movants either mandatory or
23   permissive intervention. If the Court nonetheless decides to do so, it should grant Movants
24   intervention only with respect to the definition of sexual harassment—the one part of WSU’s claim
25   that Movants address in their briefing. Movants have not attempted to provide any reasoning as to
26   why they should be permitted to intervene to defend the three other challenged portions of the
27   2020 Regulations. As a result, they should not be allowed to do so. By like token, if the Court
28
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 1   determines that Movants’ constitutional arguments are irrelevant the whether the 2020 Regulations

 2   are lawful but potentially relevant to the appropriate remedy, it should permit the Movants to

 3   intervene only for purposes of establishing the correct remedy if WSU succeeds on the merits.

 4                                           CONCLUSION

 5          For the above reasons, WSU respectfully asks the Court to deny Movants’ motion to

 6   intervene.

 7   Date: November 17, 2021                           Respectfully submitted,

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 1                                     CERTIFICATE OF SERVICE

 2           I hereby certify that on November 17, 2021, a true and accurate copy of the foregoing was

 3   electronically filed with the Clerk of Court using the Court’s CM/ECF system, which will send a

 4   notification of the filing to counsel in this case.

 5                                                              /s/ Lauren A. Khouri

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